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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


FOOD PROJECT ASSOCIATION
d/b/a FARMSTAND,

                      Plaintiff,                     Case No.     1:25-cv-1146

        v.

UNITED STATES DEPARTMENT
OF STATE,

                      Defendant.

                                         COMPLAINT

    Plaintiff FarmSTAND, by its undersigned attorneys, alleges:

    1. This is an action under the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”), to

obtain an order for the production of agency records from the United States Department of State

(“State Department” or the “Department”) in response to a request properly made by the

Plaintiff.

                                            PARTIES

    2. The Food Project Association, d/b/a FarmSTAND (“FarmSTAND”) is a non-profit legal

advocacy organization headquartered in Washington, D.C., that works to dismantle structures

that enable the consolidation of corporate power and extractive practices in our food system, and

aims to build an agriculture system that is regenerative, humane, and owned by independent

farmers.

    3. FarmSTAND often represents workers in the animal agriculture industry. As relevant

here, FarmSTAND represents several Guatemalan nationals who came to the United States on

Exchange Visitor (J-1) visas believing they would be participating in internships as part of a




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cultural exchange program, but instead were forced to provide general labor to an industrial

swine operation for long hours and low pay.

   4. Defendant State Department is an agency of the federal government within the

meaning of 5 U.S.C. § 551(1) that has possession and control of the records that FarmSTAND

seeks.

                      JURISDICTION, VENUE, AND EXHAUSTION

   5. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

and 5 U.S.C. § 552(a)(4)(B).

   6. Venue is premised on Plaintiff’s place of business and is proper in this district under

5 U.S.C. § 552(a)(4)(B).

   7. FarmSTAND has exhausted all administrative remedies available regarding the request at

issue. See U.S.C. § 552(a)(6)(C).

                                              FACTS

   8. On June 27, 2024, FarmSTAND submitted a FOIA request to the State Department for

documents held by the Department’s Bureau of Education and Cultural Affairs related to the J-1

Exchange Visitor Program (“the Request”). See Exhibit A.

   9. Specifically, the Request sought “all documents, emails and correspondence mentioning

or concerning” the J-1 visa “host organization ‘Livingston Enterprises, Inc.’ or ‘Livingston

Enterprises’ in Fairbury, Nebraska” from January 1, 2019 to the present, “including but not

limited to all Training/Internship Placement Plans (State Dept. Form DS-7002) with” J-1 visa

“sponsor organization Worldwide Farmers Exchange” (“WFE”).

   10. The Request further sought “any correspondence from and between [WFE] and the




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Bureau’s Office of Private Sector Exchange Administration” from August 25, 2022 to March 1,

2023.

   11. Finally, the Request sought, for 2022 and 2023, the Annual Reports (State Dept. Form

DS-3097) and Program Evaluations for the J-1 Exchange Visitor Program that WFE submitted to

the Bureau.

   12. On June 27, 2024, the State Department emailed confirming receipt of the

Request, assigning it reference number F-2024-13746. See Exhibit B.

   13. On July 15, 2024, the Department emailed a confirmation again, indicating

that the FOIA Office had placed the Request in the “complex processing track,” citing “unusual

circumstances” in accordance with 5 U.S.C. § 552(a)(6)(B)(i)-(iii), because the Request required

the Department “to search for and collect requested records from other Department offices or

Foreign Service posts.” See Exhibit C.

   14. The Department further indicated that it would “not be able to respond within the 20 days

provided by the statute due to [these] ‘unusual circumstances,’” but stated that the Request

would be “processed as quickly as possible” in accordance with 22 CFR § 171.11(h). Id. The

Department did not provide a date by which it expected to make a determination on the Request.

   15. On January 2, 2025, having heard nothing from the Department since this July 2024

email, FarmSTAND emailed the Department requesting an estimated date of completion for the

Request. FarmSTAND further indicated that “[i]f narrowing the request would speed its

processing, [FarmSTAND] would also like to discuss potential narrowing options with the FOIA

processing officer.” See Exhibit D.




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   16. On February 24, 2025, the Department responded, informing FarmSTAND that the

Request had been assigned to the Department’s Directorate for Visa Services in the Bureau of

Consular Affairs, and was in process. Id.

   17. A few days later, FarmSTAND requested to be put in direct contact with the Directorate

for Visa Services, to determine whether the Request could be narrowed to speed its processing

and whether the Directorate could provide an estimated date of completion. Id.

   18. On March 19, 2025, the Department responded, informing FarmSTAND that the

estimated date of completion for the Request was September 30, 2026, and noting the

Department’s current backlog of FOIA requests. Id.

                                               COUNT I

   19. FarmSTAND repeats, realleges, and reincorporates the allegations in the foregoing

paragraphs as though fully set forth herein.

   20. The State Department is an agency subject to FOIA and must therefore release in

response to a FOIA request any non-exempt, segregable records in its possession at the time of

the request and provide a lawful reason for withholding any materials it claims are exempt.

   21. Under 5 U.S.C. § 552(a)(6)(C)(i), FarmSTAND has exhausted all administrative

remedies under FOIA as to the Request, because the Department has failed to produce records or

communication responsive to the Request. Specifically, within the statutory timeframe, the

Department failed to render a determination under 5 U.S.C. § 552(a)(6)(A)(i) that included the

scope of the documents it intends to produce, the reasons for withholding any documents, and a

statement informing the Plaintiff that it can appeal whatever portion of the “determination” is

adverse.

   22. Accordingly, FarmSTAND is entitled to an order compelling the State Department to




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produce records responsive to the Request.

                                   PRAYER FOR RELIEF

WHEREFORE, FarmSTAND respectfully requests that this Court:

   23. Declare that the documents sought by the Request, as described in the foregoing

paragraphs, are public under 5 U.S.C. § 552 and must be disclosed;

   24. Order the State Department to undertake an adequate search for the requested records and

provide those records to FarmSTAND within 20 business days of the Court’s order;

   25. Award FarmSTAND the costs of this proceeding, including reasonable attorney’s fees, as

expressly permitted by FOIA, 5 U.S.C. § 552(a)(4)(E)(i); and

   26. Grant FarmSTAND such other and further relief as this Court deems just and proper.



Dated April 16, 2025

   Respectfully submitted,

/s/ Nathan Leys
Nathan Leys                                        Melia Amal Bouhabib
DC Bar No. 90018987                                TN Bar No. 035588 (Pro Hac Vice
DDC Bar No. CT0022                                 admission forthcoming)
FarmSTAND                                          FarmSTAND
712 H Street NE                                    712 H Street NE
Suite 2534                                         Suite 2534
Washington, DC 20002                               Washington, DC 20002
202-630-3095                                       202-630-3095
Email: nathan@farmstand.org                        Email: amal@farmstand.org

Kelsey R. Eberly
DC Bar No. 90021503 (Pro Hac Vice
admission forthcoming)
FarmSTAND
712 H Street NE
Suite 2534
Washington, DC 20002
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                     Exhibit A
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                                                    Submit New Request

Requester Details


To modify request details please update your requester profile or contact the our office for assistance.

Kelsey Eberly
712 H Street Northeast
Ste 2534
Washington, DC 20002
kelsey@farmstand.org

Requester Default Category: Other (General Public)

General Information

Action Office                      IPS
Action Office Instructions         Department of State
Request Type                       FOIA
Requester Category                 Other (General Public)
Delivery Mode                      PAL Download


Shipping Address

Street1                            712 H Street Northeast
Street2                            Ste 2534
Country                            United States
City                               Washington
State                              District of Columbia
Other State/Province (Int’l)
Zip Code                           20002


Description of Records
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                                   This is a request under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, from
                                     FarmSTAND, a non-profit organization that works to dismantle the structures that enable the
                                     consolidation of corporate power and extractive practices in our food system in order to build an
                                     animal agriculture system that is regenerative, humane, and owned by independent farmers.
                                     FarmSTAND requests from the U.S. Department of State (“State Department”) the following:
                                     Records from the U.S. Department of State Bureau of Educational and Cultural Affairs
                                     concerning the Exchange Visitor Program—specifically, the following records concerning
                                     participants in the J-1 visa program (Intern and Trainee category):
                                     (1)From Jan. 1, 2019 to the present, all documents, emails, and correspondence mentioning
                                     or concerning the host organization “Livingston Enterprises, Inc.” or “Livingston Enterprises” in
                                     Fairbury, Nebraska, including but not limited to all Training/Internship Placement Plans (State
                                     Dept. Form DS-7002) with sponsor organization Worldwide Farmers Exchange;
                                     (2)From Aug. 25, 2022 to March 1, 2023, any correspondence from and between sponsor
                                     organization Worldwide Farmers Exchange and the Bureau’s Office of Private Sector Exchange
                                     Administration (may have been from worldwidefarmers@gmail.com to/between
                                     jvisas@state.gov or interntraineenotify@state.gov); and
                                     (3)For 2022 and 2023, the Annual Reports (form DS-3097) and Program Evaluations for the
                                     J-1 Exchange Visitor Program submitted by sponsor organization Worldwide Farmers Exchange
Records Description                  to the Bureau of Educational and Cultural Affairs.
                                     If you decide to invoke a FOIA exemption to withhold or redact records, please include sufficient
                                     information for us to assess the basis for the exemption, including any interest(s) that would be
                                     harmed by release. Please include a detailed ledger which includes:

                                     1.Basic factual material about each withheld record, including the originator, date, length,
                                     general subject matter, and location of each item; and
                                     2.Complete explanations and justifications for the withholding, including the specific
                                     exemption(s) under which the record (or portion thereof) was withheld and a full explanation of
                                     how each exemption applies to the withheld material.

                                     Such statements will be helpful in deciding whether to appeal an adverse determination. Your
                                     written justification may help to avoid litigation.

                                     As mandated in FOIA, we anticipate a reply within 20 working days. 5 U.S.C. § 552(a)(6)(A)(i).
                                     We request that you provide the records in electronic format, emailed to kelsey@farmstand.org.
                                     Please email me to discuss the scope of this request if the request is unclear or if the
                                     responsive records are voluminous.

Date Range for Record                01/01/2019
Search:From
Date Range for Record                06/27/2024
Search:To
Description Document


FOIA Visa Add'l Information

Visa Applicant Name
Aliases
Date of Birth
Applicant's Place of Birth
Case/Receipt #


Fee Information

Willing Amount                       $25
Fee Waiver Requested                 Yes ,2024.06.27 FarmSTAND Fee Waiver Req.pdf
Fee Waiver Request Reason            Please see attached request
Willing to Pay All Fees              No


Expedite Information

Check to Request Expedite            No
Reason for Expedite Request
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                     Exhibit B
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                     Exhibit C
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Sylvia Regan

From:                           A_FOIAacknowledgement@groups.state.gov
Sent:                           Monday, July 15, 2024 8:44 AM
To:                             Kelsey Eberly
Subject:                        Ref: F-2024-13746, Freedom of Information Act Acknowledgement
Attachments:                    PAL Request Form.pdf; 2024.06.27 FarmSTAND Fee Waiver Req.pdf



*THIS EMAIL BOX IS NOT MONITORED, PLEASE DO NOT REPLY TO THIS EMAIL.**

Dear Ms. Eberly:

This email acknowledges receipt of your June 27, 2024, Freedom of Information Act (FOIA) (5 U.S.C. § 552)
request received by the U.S. Department of State, Office of Information Programs and Services on June 27,
2024.

You are seeking a copy of This is a request under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,
from FarmSTAND, a non-profit organization that works to dismantle the structures that enable the
consolidation of corporate power and extractive practices in our food system in order to build an animal
agriculture system that is regenerative, humane, and owned by independent farmers. FarmSTAND requests
from the U.S. Department of State (“State Department”) the following: Records from the U.S. Department of
State Bureau of Educational and Cultural Affairs concerning the Exchange Visitor Program—specifically, the
following records concerning participants in the J-1 visa program (Intern and Trainee category): (1) From Jan.
1, 2019 to the present, all documents, emails, and correspondence mentioning or concerning the host
organization “Livingston Enterprises, Inc.” or “Livingston Enterprises” in Fairbury, Nebraska, including but not
limited to all Training/Internship Placement Plans (State Dept. Form DS-7002) with sponsor organization
Worldwide Farmers Exchange; (2) From Aug. 25, 2022 to March 1, 2023, any correspondence from and
between sponsor organization Worldwide Farmers Exchange and the Bureau’s Office of Private Sector
Exchange Administration (may have been from worldwidefarmers@gmail.com to/between jvisas@state.gov or
interntraineenotify@state.gov); and (3) For 2022 and 2023, the Annual Reports (form DS-3097) and Program
Evaluations for the J-1 Exchange Visitor Program submitted by sponsor organization Worldwide Farmers
Exchange to the Bureau of Educational and Cultural Affairs. If you decide to invoke a FOIA exemption to
withhold or redact records, please include sufficient information for us to assess the basis for the exemption,
including any interest(s) that would be harmed by release. Please include a detailed ledger which includes: 1.
Basic factual material about each withheld record, including the originator, date, length, general subject matter,
and location of each item; and 2. Complete explanations and justifications for the withholding, including the
specific exemption(s) under which the record (or portion thereof) was withheld and a full explanation of how
each exemption applies to the withheld material. Such statements will be helpful in deciding whether to appeal
an adverse determination. Your written justification may help to avoid litigation. As mandated in FOIA, we
anticipate a reply within 20 working days. 5 U.S.C. § 552(a)(6)(A)(i). We request that you provide the records
in electronic format, emailed to kelsey@farmstand.org. Please email me to discuss the scope of this request if
the request is unclear or if the responsive records are voluminous. (Date Range for Record Search: From
01/01/2019 To 06/27/2024). Unless you advise otherwise, we will treat as non-responsive any
compilations of publicly available news reports and any publicly available documents not
created by the U.S. government, such as mass-distribution emails from news media. This
Office assigned your request the subject reference number and placed it in the complex
processing track where it will be processed as quickly as possible. See 22 CFR § 171.11(h).

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This Office will not be able to respond within the 20 days provided by the statute due to
“unusual circumstances.” See 5 U.S.C. § 552(a)(6)(B)(i)-(iii). In this instance, the unusual
circumstances include the need to search for and collect requested records from other
Department offices or Foreign Service posts.

You will not be charged FOIA processing fees.

If you have any questions regarding your request, would like to narrow the scope or arrange
an alternative time frame to speed its processing, or would like an estimated date of
completion, please contact our FOIA Requester Service Center or our FOIA Public Liaison by
email at FOIAstatus@state.gov or telephone at 202-261-8484. Additionally, you may contact
the Office of Government Information Services (OGIS) at the National Archives and Records
Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National
Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-
6001, email at ogis@nara.gov ; telephone at 202-741-5770; toll free at 1-877-684-6448; or
facsimile at 202-741-5769.
**THIS EMAIL BOX IS NOT MONITORED, PLEASE DO NOT REPLY TO THIS EMAIL.**




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                     Exhibit D
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